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NEWS


Heavy law enforcement presence keeps League of the
South rally peaceful
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Published 3:00 p.m. ET Jan. 27, 2018   Updated 8:36 p.m. ET Jan. 27, 2018


Counter-protesters were at the Old Capitol before any members of the white supremacy group League of the South arrived
Saturday morning.

Once the members – about 30 of them – did arrive, they were outnumbered by about 175 counter-demonstrators. But both
League of the South members and those opposing them were far outnumbered by law enforcement officers.

The officers, including some with tactical gear, were from the Tallahassee Police Department, Leon County Sheriff’s Office,
Florida Highway Patrol and Florida Department of Law Enforcement. Patrol cars were parked throughout downtown. A
helicopter flew overhead. Agents were inside the Old Capitol and on top, in its crown.

"We want to promote safety for all citizens exercising their constitutional rights, and violence is not tolerated," said FDLE
spokeswoman Jessica Cary. She provided few other details.

Law enforcement acting as a physical barrier between League of the South members and counter-protesters kept the rally
nonviolent. League of the South members were confined by a barricade to the area to the right of the Capitol, including the
grassy area that holds the Confederate monument commemorating those who died in the Civil War.

The League was one of several Neo-Nazi and White Power groups to organize last year's Unite the Right rally in
Charlottesville. The event erupted in violence as hundreds of white nationalists carrying tiki torches and anti-Semitic signs
clashed with counter-demonstrators over two days.

President and founder of the League of the South Michael Hill said the group was gathering to let people know the 25-year-
old group exists and it's fighting for states' rights.

"There’s an organization that will stand up for traditional Southerners and for our culture and our heritage and for our
future," the 66-year-old Alabamian said. "In this particular venue today, we’re standing up for the state of Florida's
sovereignty."

Counter-protesters yelled "no Nazis, no KKK, no fascist USA" and "black lives matter." They held signs denouncing white
supremacy and demanding equality.

"We’re here to show white supremacists that this isn’t going to be tolerated in this town," said 19-year-old Cea Moline,
president of Students for a Democratic Society at Florida State. "I think it’s pretty obvious that the League of the South has
lost a lot of power in Tallahassee and in North Florida."

Danielle Krusemark came to the protest against the group for her family who is half Mexican and half German. She held a
sign that read, "Proud to be biracial. I love my family."

" I look white and I get white privilege, but my family doesn't," the 23-year-old said. "Everyone has a responsibility to better
the world."

Hill said while he and his group didn't agree with the counter-protesters, some of whom criticized law enforcement for
protecting his group, they had just as much freedom to be at the Old Capitol.
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"They have every right to come to a public space and voice their opinion and so do we," Hill said.

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